         Case 2:19-cv-05030-JDW Document 98 Filed 12/16/20 Page 1 of 3




                                       December 16, 2020

                     STATUS REPORT AND REQUEST FOR
              RESONSIDERATION OF THE DECEMBER 16, 2020 ORDER

Via E-filing
United States District Court
Eastern District of Pennsylvania
Honorable Joshua D. Wolson
601 Market Street
Room 3809
Philadelphia, PA 19106-1726

                      RE:     Lisa Barbounis v. The Middle East Forum
                              No. 2:19-cv-05030-JDW

Dear Judge Wolson:

Please allow this email to serve as Plaintiff’s status report in connection with the December 4,
2020 Order and a Request for Reconsideration of the December 16, 2020 Order that states
Plaintiff is being sanctioned $50.00 per day due to not being able to produce text threads by
December 15, 2020. This is an unfair result and a manifest injustice which warrants
reconsideration.

Capsicum is working hard to produce the information identified by Defendants. Capsicum had to
begin from scratch and work with the original images of the phone. The list of text threads
provided by Defendants was not helpful and did not allow Capsicum to obtain the information
identified by Defendants.

Capsicum provided the following update today:

                 We are progressing with the images and are hopeful to have the
                 results of the keyword searches by COB tomorrow. The
                 spreadsheet we have in hand is not helpful so we will produce
                 based on the search terms. I will still report back to you at 5pm
                 today to see if we are still on pace for tomorrow delivery.

                 Also, we are confused by the syntax of the 25 term in the list.
                 Maybe you can just send us an email saying what is meant be
                 the search and we will get in proper syntax.

      New York City Office: One Penn Plaza, Suite 4905, New York, NY 10119 | (212) 587-0760
    Philadelphia Office: 1835 Market Street, Suite 2950, Philadelphia, PA 19103 | (215) 391-4790
           Miami Office: 100 SE 2nd Street, Suite 2000, Miami, FL 33131 | (305) 946-1884
          New Jersey Office: 73 Forest Lake Drive, West Milford, NJ 07421 | (973) 388-8625
                 Website: www.discriminationandsexualharassmentlawyers.com
         Case 2:19-cv-05030-JDW Document 98 Filed 12/16/20 Page 2 of 3




Capsicum then update Plaintiff again:

                      We continue to be on pace for our searches to be
                      completed by cob tomorrow. We will send an update in
                      the morning with our overnight progress.


Capsicum is treating this as a rush job and working diligently to produce the information as soon
as possible. It was impossible for Capsicum to produce the information by December 15, 2020.
This was not due to any failure on the part of Plaintiff but due to the very nature of the
information under consideration. Capsicum simply could not perform this task in the time
allotted. It is unfair to set an impossible deadline and then sanction a party for their inability to
comply with the same. Plaintiff made every reasonable attempt to comply with the Court Order
and produce the information by December 15, 2020. Capsicum is making every reasonable
attempt to comply with the Court Order and produce the information by December 15, 2020.

The Court Order also provides for the production of relevant Telegram messages and unredacted
information from Plaintiff’s Instagram and Twitter accounts by December 18, 2020. Plaintiff is
working on the production of this information; however, Cornerstone was unable to help in any
way. Cornerstone refused to assist with this part of the Court Order. Plaintiff is attempting to
find a work-a-round, however the Court Order provides until December 18, 2020 for this
information.

Plaintiff is requesting that the Court allow Plaintiff additional time to produce the text threads as
this is an equally difficult task. The Court Order only provided seven business days to
December 15, 2020 for the text threads. There was no way possible that this information could
have been produced in the time allotted. Plaintiff therefore requests that the Court allow the
production of text threads by the same date as the Twitter, Instagram and Telegram information.

If Capsicum is able to produce the information tomorrow, Plaintiff requests the Court reconsider
its Order to assess sanctions.

Plaintiff also requests a telephone call with the Court and parties in connection with the
redactions as this information was not part of the information that Capsicum collected from Ms.
Barbounis. Plaintiff requests that the information from Ms. Barbounis’s Twitter and Instagram
Accounts be treated like the information in her Telegram account. This would mean that
Plaintiff is permitted to produce all relevant information to Defendants through the accounts and
NOT based upon the search terms which yielded thousands of false positives. Plaintiff is able to
access these accounts directly, however, it would take Plaintiff weeks to match the information
with the search terms run by Cornerstone.
                                                      Very Truly Yours,
                                                      DEREK SMITH LAW GROUP, PLLC

                                                   BY:___/s/ Seth D. Carson________
                                                        Seth D. Carson, Esquire
CC: All parties through ECF


                                                  2
         Case 2:19-cv-05030-JDW Document 98 Filed 12/16/20 Page 3 of 3




                               CERTIFICATE OF SERVICE



       I hereby certify that on this date that I caused a true and correct copy of Plaintiff’s

Status Report was served via the Court’s ECF filing system:


                                  David J. Walton (PA # 86019)
                                  Leigh Ann Benson (PA #319406)
                                  Cozen O'Connor
                                  1650 Market Street, Suite 2800
                                  Philadelphia, PA 19103
                                  P: 215-665-2000
                                  F: 215-665-2013
                                  dwalton@cozen.com
                                  lbenson@cozen.com

                                  Sidney L. Gold sgold@discrimlaw.
                                  Sidney L. Gold & Associates P.C.
                                  1835 Market Street, Suite 515
                                  Philadelphia, PA 19103
                                  Tel: (215) 569-1999
                                  Fax: (215) 569-3870
                                  Counsel for The Middle East Forum


                                            DEREK SMITH LAW GROUP, PLLC




                                            BY:__/s/_Seth D. Carson_____________

                                                   SETH D. CARSON




DATED: December 16, 2020




                                               3
